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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - TRIAL

 

 

 

 

 

 

 

 

Case No. CV19-02286-JWH(KSx) Date October 25, 2022
Title: Strategic Partners, Inc. v. FIGS, Inc., et al
Present: The Honorable JOHN W. HOLCOMB, UNITED STATES DISTRICT JUDGE
Deborah Lewman Sheri Kleeger/Sharon Seffens
Deputy Clerk Court Reporter/Recorder
Attorneys Present for Plaintiff(s): Attorneys Present for Defendants:
Mona Z. Hanna; Jesse J . Contreras; Jennifer S. Goldstein; Ekwan E. Rhow; James R. Salzmann; Adam Weiss; Jacob S.
Kristin J. Achterhof: Timothy Gray; Sanford Michelman Kreilkamp; Sara A. McDermott; Fanxi Wang; Julia Cherlow;
Sara Worth
Day Court Trial 6e Day Jury Trial
One day trial: _ Begun (1* day): x Held & Continued; Completed by jury verdict/submitted to court.

The Jury is impaneled and sworn.

Opening statements made by

 

X Witnesses called, sworn, and testified. X Exhibits Identified X Exhibits admitted.

 

 

 

 

__ Plaintiff(s) rest. __ Defendant(s) rest.

Closing arguments made by plaintiff(s) defendant(s). Court pre-instructs jury.
| Bailiff(s) sworn. | Jury retires to deliberate. | Jury resumes deliberations.
__ Jury Verdict in favor of __ plaintiff(s) __ defendant(s) is read and filed.

__ Jury polled. __ Polling waived.
__ Filed Witness & Exhibit Lists __ Filed jury notes. __ Filed jury instructions.
__ Judgment by Court for __ plaintiff(s) __ defendant(s).

Findings, Conclusions of Law & Judgment to be prepared by plaintiff(s) defendant(s).
| Case submitted. _ Briefs to be filed by | |
__ Motion to Dismiss by is granted. __ denied. __ submitted.
__ Motion for mistrial by is granted. __ denied. __ submitted.

Motion for Judgment/Directed Verdict by is granted. denied. submitted.

Settlement reached and placed on the record.
Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
Trial subpoenaed documents returned to subpoenaing party.

X Case continuedto October 26, 2022, at 8:30 a.m. for further trial.
Other:

 

 

Initials of Deputy Clerk djl

 

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